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                                    Exhibit A
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 November 4, 2011



 Mr. James A. Knauer
 Trustee in Bankruptcy for
   Eastern Livestock Company, LLC
 Kroger, Gardis & Regas, LLP
 111 Monument Circle
 Suite 900
 Indianapolis, IN 46204

 RE:    Eastern Livestock Company, LLC

 Dear Mr. Knauer:

 This letter outlines our understanding of the terms and objectives of our consulting engagement.

 We will perform accounting and tax services related to the Eastern Livestock Company, LLC.
 These services will include preparation of required federal and state income tax returns.

 Our fees for these accounting and tax services will be charged at our standard rates as follows:

               Partner                               $350 - $425 per hour
               Director                              $250 - $350 per hour
               Manager                               $180 - $250 per hour
               Staff                                 $115 - $175 per hour

 Should additional specifically identified services be needed, we will provide an additional
 engagement letter.

 Our fees for these services will be based on the number of hours spent at our standard billing
 rate. You will also be billed for travel and other out-of-pocket costs. Our invoices for our fees
 will be rendered each month as work progresses and are payable every 120 days. If we elect to
 terminate our services for nonpayment, you will be obligated to compensate us for all time
 expended and to reimburse us for all out-of-pocket expenditures through the date of termination.
 You are also obligated to reimburse us for all costs and expenses incurred by us in the collection
 of our fees for this engagement, including, without limitation, reasonable attorneys' fees and
 court costs.
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 Mr. James A. Knauer
 November 4, 2011
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 We appreciate the opportunity to be of service to you and believe this letter accurately
 summarizes the significant terms of our engagement. If there is anything in this engagement
 letter that concerns you, please bring it up to us. We are willing to consider and discuss changes.
 If you agree with the terms of our engagement as described in this letter, please sign and return it
 to us.

 Sincerely,



 Keith Gambrel, Partner
 KSM Business Services

 KTG/skp




 Approved:


 James A. Knauer
 Trustee in Bankruptcy for Eastern Livestock Company, LLC

 By:

 Signed

 Printed      James A. Knauer                          , Bankruptcy Trustee

 Date
